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                                              Tuesday, September 27, 2022 at 13:32:51 Central Daylight Time


Subject:    Re: Rosenfeld v. AC2T, Inc. - Correspondence re: February 14, 2022 Meet-and-Confer
Date:       Thursday, February 17, 2022 at 3:48:54 PM Central Standard Time
From:       Cal Mayo
To:         Dimon, Anna G.
CC:         Boyle, Edward P.
AEachments: image001.png

Anna,

I received your le1er on Tuesday. Let me provide a brief response now.

Our call on Monday did not involve an exhaus@ve discussion about the objec@ons stated by Dr. Yee
concerning the subpoena. I don’t know if such a characteriza@on was your inten@on, but Dr. Yee
maintains all objec@ons as stated in my le1er of Jan. 21.

As lawyers, we always advocate for our respec@ve clients and use every opportunity to promote their
interests. Your le1er recounts our discussion or makes allega@ons and arguments from the viewpoint
of Defendant ACT2, Inc., ﬁltered through lenses focused on its interests. I see no purpose in
responding to your le1er line-by-line and nitpicking each issue. Dr. Yee reserves all objec@ons to the
subpoena, does not accept any characteriza@on of our discussion on Monday, and does not admit any
of the allega@ons in your le1er. The purpose of the call was to a1empt a resolu@on of objec@ons to
the subpoena while also protec@ng Dr. Yee’s interests as a non-party.

Dr. Yee has no documents responsive to Request 5. As for Requests 9 and 10, if such communica@ons
exist, the documents are among the communica@ons concerning the research which resulted in the
paper.

Similarly, Requests 1-6 and 17-18 all relate to or exist among documents and informa@on concerning
the paper to the extent responsive documents exist. You have documents for Requests 7-8 and 11-12,
to the extent they exist. The documents responsive to Requests 14-15 are the subject of the privilege
and immunity issues raised by the plain@ﬀ. This leaves 13, 16, and 19, which I will address below.

I will note a few points, as either I misspoke (which is quite likely) or did not clearly communicate
(another dis@nct possibility).

Janet Donaldson has never worked in the Oﬃce of Research. She is the Associate Dean of the College
of Arts and Sciences.

As for the “lost or destroyed documents”, Dr. Yee does delete non-substan@ve emails and also de-
dupes emails in chains. In addi@on, as part of the produc@on, I de-duped email chains a_er conﬁrming
the last email captured all previous email exchanges. Otherwise, Dr. Yee has or will produce all
documents in his possession for those requests for which he has agreed to produce documents.

Dr. Yee will make an addi@onal produc@on of certain responsive documents provided two things occur.

First, Defendant will prepare a Conﬁden@ality Agreement which limits use and disclosure to the EDNY
ac@on for any documents produced by Dr. Yee and marked as “Conﬁden@al” and for Dr. Yee’s

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deposi@on tes@mony designated as “Conﬁden@al”. All par@es and Dr. Yee will sign the agreement,
which will provide for, among other things, applica@on of Mississippi law, jurisdic@on for resolu@on of
any breach in state or federal court in Forrest County, Mississippi, injunc@ve relief in the event of
breach, and cer@ﬁca@on of the destruc@on of documents at the conclusion of the li@ga@on. Either
party will have the right to contest the “Conﬁden@al” designa@on.

Second, Defendant will pay Dr. Yee $100 per hour for @me spent in his deposi@on. This agreement will
not cons@tute a waiver of Defendant’s posi@on as to the applica@on of Rule 45(d)(3)(B)(ii).

Once we have a signed agreement and a commitment to compensate Dr. Yee, Dr. Yee will produce, to
the extent they exist, documents responsive to 1-6, 9-10, and 17-18. I do not have a response as
concerns 13 and 16, but I should know early next week. Dr. Yee will not respond to No. 19, as this
request is overly broad and will result in undue burden and expense, as I men@oned during our call.

I look forward to hearing from you.

Cal Mayo


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From: "Dimon, Anna G." <AGDimon@Venable.com>
Date: Tuesday, February 15, 2022 at 10:02 AM
To: Cal Mayo <cmayo@mayomalle1e.com>
Cc: "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: Rosenfeld v. AC2T, Inc. - Correspondence re: February 14, 2022 Meet-and-Confer

Hi Cal,

Thank you for taking the @me to talk yesterday. I’ve memorialized our conversa@on in the a1ached le1er.
 Please let me know if the le1er diﬀers in any way from your understanding of yesterday’s call. I look forward
to speaking about a subsequent produc@on.

Best,
Anna

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